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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

vs                                              Case No: 06-20366
                                                Honorable Victoria A. Roberts
ANTHONY HACHEM, ET AL,

     Defendants.
__________________________________/


                         ORDER DENYING DEFENDANTS’
                         MOTION TO DISMISS INDICTMENT

I.    INTRODUCTION

      This matter is before the Court on Defendant Sarah Adams’ Motion to Dismiss

Counts of the Indictment for Failure to State an Offense, which is joined by Defendants

Anthony Hachem, David Varner, and Brett Hanke. Defendants’ motion was referred to

Magistrate Judge Paul Komives for a Report and Recommendation (“R&R”), pursuant

to 28 U.S.C. §636(b)(1)(B). Judge Komives recommends that Defendants’ motion be

denied.

      For the reasons stated below, the Court ADOPTS Judge Komives’

recommendation.

II.   BACKGROUND

      Defendants are charged in a four-count Indictment: Count One--conspiracy to

possess with intent to distribute a controlled substance (21 U.S.C. §§841(b)(1)(A), 846);


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Count Two--possession of a firearm in furtherance of a drug trafficking crime (18 U.S.C.

§924(c)); Count Three--possession of a stolen firearm (18 U.S.C. §922(j)), and; Count

Four--possession of a firearm by a convicted felon (18 U.S.C. §922(g)(1)). All

Defendants are charged in Counts One through Three. Defendant Hachem is also

charged in Count Four.

      Judge Komives summarized the relevant facts:

         The basic facts relevant to this motion were adduced at the
         preliminary examination. Briefly stated, the government alleges that
         Defendant Hanke proposed a robbery to an individual who turned out
         to be a confidential informant (CI) for the Bureau of Alcohol,
         Tobacco, Firearms and Explosives (ATF). The CI informed his ATF
         handlers, who advised him not to participate in the robbery and to
         caution [D]efendant Hanke against commission of the crime. Under
         the direction of his ATF handlers, the CI proposed an alternative to
         [D]efendant Hanke-a robbery of a drug stash house based on
         information from a friend of the CI, who was actually an undercover
         ATF agent. Defendant Hanke agreed and met the undercover agent,
         who told Hanke that he was a drug courier who had access to a [sic]
         multiple kilograms of cocaine stored at a stash house. Defendant
         Hanke agreed to the robbery, but was later incarcerated on an
         unrelated state charge. Subsequently, the CI heard from
         [D]efendant Varner, who told the CI that he knew of the planned
         robbery and wanted to participate. Varner indicated that his cousin
         (an unindicted juvenile coconspirator) and [D]efendant Hachem also
         wanted to participate in the robbery. Varner and Hachem met with
         the undercover agent numerous times over the next several weeks
         to plan the robbery. Defendant Hanke was released from prison
         during this time, and according to the [G]overnment rejoined the
         conspiracy at that time. Defendant Adams was also recruited during
         this time to be a driver. On June 21, 2006, [D]efendants, the CI and
         Varner’s cousin drove to the storage unit where the conspirators had
         agreed to meet the undercover agent to go to the stash house.
         Upon their arrival at the storage unit, [D]efendants were arrested.

R&R at pp. 1-2. Based on these facts, Defendants ask the Court to dismiss Counts

One and Two. Defendants contend that the plan to rob a fictitious drug house was

initiated, presented to them and planned by government agents. Defendants argue that

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the government agents’ involvement constituted outrageous government conduct which

warrants dismissal on due process and fundamental fairness grounds.

       Judge Komives recommends that the Court reject Defendants’ arguments and

deny their motion because: 1) it is questionable whether the Supreme Court or the Sixth

Circuit recognizes “outrageous government conduct” as a viable defense; and 2) even if

the defense is viable, the Sixth Circuit has explicitly rejected the defense on the theories

asserted by Defendants. Defendants object to the Magistrate’s recommendation.1

III.   APPLICABLE LAW AND ANALYSIS

       The “outrageous conduct” defense has its genesis in the dicta of a Supreme

Court opinion in United States v Russell, 411 U.S. 423 (1973), in which the Court

rejected the defendant’s argument that dismissal was warranted because an

undercover government agent’s involvement in the offenses for which he was charged

(manufacturing methamphetamine) was so high that criminal prosecution would violate

the fundamental principles of due process.2 The Court held that there is no

constitutional protection against entrapment. However, the Court went on to suggest

that government involvement may under certain circumstances be so outrageous as to

violate due process and bar criminal prosecution:


       1
       Defendants Adams and Hachem filed Objections, which Defendants Hanke and
Varner joined without additional argument.
       2
       The agent approached the Russell defendant and his two co-defendants about
manufacturing methamphetamine. The agent offered to provide defendant with an
essential chemical for manufacturing the drug in exchange for a sample and a tour of
the defendant’s lab. The Bureau of Narcotics and Dangerous Drugs also enlisted the
cooperation of some chemical companies who agreed to stop selling the chemical,
which made it more difficult, but not impossible, for defendant to obtain the chemical on
his own.

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         While we may some day be presented with a situation in which the
         conduct of law enforcement agents is so outrageous that due
         process principles would absolutely bar the government from
         invoking judicial processes to obtain a conviction . . ., the instant
         case is distinctly not of that breed. The law enforcement conduct
         here stops far short of violating that ‘fundamental fairness, shocking
         to the universal sense of justice,’ mandated by the Due Process
         Clause of the Fifth Amendment.

411 U.S. at 431-432 (internal citations omitted). In a plurality opinion, the Supreme

Court in Hampton v United States, 425 U.S. 484 (1976), subsequently left open the

possibility that government involvement could be so outrageous as to bar conviction.

       The circuits are split regarding whether an “outrageous conduct” defense, in fact,

exists under Russell. There is disagreement within the Sixth Circuit as well. Compare

United States v Barger, 931 F.2d 359 (6th Cir. 1991)(articulating factors for use in

determining whether there is outrageous conduct, but finding that the facts did not

support such a finding) and United States v Tucker, 28 F.3d 1420 (6th Cir. 1994)(finding

that there is no binding Supreme Court or Sixth Circuit authority for the defense

because it has only been recognized in dicta). Defendants concede that it is uncertain,

under the existing precedent, whether the defense exists in the Sixth Circuit.

       To the extent the defense is recognized, Defendants concede that the Sixth

Circuit explicitly held that it may not be asserted when it is based on theories of

government inducement or government’s involvement in creation of the crime that was

so significant that criminal prosecution violates due process. See United States v

Warwick, 167 F.3d 965, 974-975 (6th Cir. 1999); United States v Blood, 435 F.3d 612,

629 (6th Cir. 2006). As those were the only theories asserted by Defendants in their

motion to dismiss, the Magistrate correctly found that Defendants motion must be


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denied as a matter of law.

       In their objections, however, Defendant Adams (and the remaining Defendants

by joinder) argue that the Magistrate failed to consider whether and to what extent they

were predisposed to commit the offenses charged in Counts One and Two. Adams

asserts that it appears that Sixth Circuit precedent only disfavors focusing exclusively

on the government’s conduct without consideration of the Defendant’s degree of

predisposition. Adams lists several factors which she contends demonstrate that she

was not predisposed to commit the offenses, and Hachem implicitly makes the same

assertion in his separately filed objections (although he also joins Adams’ objections).3

Defendants’ argument is without merit.

       First, this argument was not asserted in Defendants’ motion and, therefore, was

not before the Magistrate. Second, Defendant Adams offers no analysis or citation for

the proposition that lack of predisposition is an exception to the Sixth Circuit’s holding

that the “outrageous conduct” defense may not be asserted when it is based on

government inducement or government involvement. And, the Court is not aware of

any Sixth Circuit case which has explicitly or implicitly held as much.

       Finally, even if there is such an exception, predisposition is ordinarily a question

for a jury, not the Court. Tucker, 28 F.3d at 1428. And, in any event, neither the



       3
        Adams says she: 1) has no prior convictions, 2) did not know any of the co-
Defendants before becoming involved in this offense; 3) was recruited by the
confidential source at the “eleventh hour;” 4) was not involved in the planning of the
robbery; she only agreed to be the driver; and 5) did not agree to participate in the
robbery, drug possession or distribution. Hachem says he was not involved in the initial
formulation of the plan, and that he resisted attempts by the CI and co-Defendants to
involve him until he was overcome by excessive pressure placed upon him.

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preliminary examination testimony nor the factors listed by Adams or Hachem

conclusively establishes their, or the remaining Defendants’, lack of predisposition. In

fact, the preliminary exam testimony suggests otherwise.

       ATF agent Donavan Davis, the case agent, testified at the preliminary

examination that Hanke came to ATF’s attention because he allegedly approached the

CI and proposed another robbery.4 Prelim. Exam. at pp. 7-8. Varner allegedly

contacted the CI and asked to join the plan to rob the fictitious drug house (after hearing

about it from Hanke). Id at p. 12. Hachem was recruited by one of the other

Defendants (he does not object to the Magistrate’s finding that it was Varner) to join the

plan, he participated in two planning meetings, and he affirmatively indicated his

continued willingness to participate when directly asked by the undercover agent.5 Id at

pp. 14, 54, 60, 76. And, contrary to Adams’ claim that she was recruited by the CI,

agent Davis testified that she approached the CI after overhearing him talking about the

robbery plan and offered to act as the “getaway” driver. Id at p. 48.

       For all of these reasons, the Court ADOPTS the Magistrate’s recommendation.

Defendants’ Motion to Dismiss Counts One and Two of the Indictment is DENIED.




       4
       Agent Davis was not the undercover agent directly involved, but he said that he
reviewed the undercover agent’s recorded telephone calls and video and audio taped
meetings with the Defendants.
       5
       There is no evidence to support Hachem’s claim that he “resisted the various
attempts [by] the government agent/confidential informant and Co-Defendants . . ., only
succumbing once excessive pressure was placed on him.” Hachem Obj. at p. 2.

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       IT IS ORDERED.



                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: March 19, 2007

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 March 19, 2007.

 S/Carol A. Pinegar
 Deputy Clerk




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